22-10943-mew   Doc 161-11   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex.
                            J to Levitt Aff. Pg 1 of 4



                                EXHIBIT J
22-10943-mew   Doc 161-11   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex.
                            J to Levitt Aff. Pg 2 of 4
22-10943-mew   Doc 161-11   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex.
                            J to Levitt Aff. Pg 3 of 4
22-10943-mew   Doc 161-11   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex.
                            J to Levitt Aff. Pg 4 of 4
